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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

vs. Civil/Criminal No.; 21 CR 123 (PLF)

VITALI GOSSJANKOWSKI

 

NOTE FROM JURY He Verdict Form

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NOTE FROM JURY

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vs, Civil/Criminal No.; 21 CR 123 (PLF)

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NOTE FROM JURY
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